Case 1:19-cv-03312-CKK Document 1-14 Filed 11/04/19 Page 1 of 16

Exhibit 13

U.S. District Court of Western District of Texas, Austin Division Vicki
McLean, ET AL EX REL USA VS Puerto Rico, Territory of U.S., ET AL
A19-CV0648RP. filed July 8, 2019 Affidavit of Service providing evidence of
delivery but justifying reasons the U.S. Attorney General never really
received his delivery of case A19-CV0648RP from the USPS as shown on the
certified return receipt denying the U.S. Citizens’ rights to counsel
Case 1:19-cv-03312-CKK Document 1-14 Filed 11/04/19 Page 2 of 16

UNITED STATES DISTRICT COURT

OF WESTERN DISTRICT OF TEXAS,

VICKI FANNING MCLEAN
ESTATE OF JAMES MCLEAN
ESTATE OF LOUIS FANNING, SR
EX REL
UNITED STATES OF AMERICA

PLAINTIFFS

VS

PUERTO RICO, TERRITORY OF
UNITED STATES, 1924- PRESENT

CUBA, COUNTRY OF
1924 TO PRESENT

DOMINICAN REPUBLIC,
COUNTRY OF
1924 TO PRESENT

REPUBLIC OF HAITI,
COUNTRY OF 1924 TO PRESENT

THE BAHAMAS, COUNTRY OF
1924 TO PRESENT

aya
Pohl

CIVIL ACTION: A19-CV-0648

JUDGE ROBERT PITMAN

‘PATRIOT ACT OF 2001

ESPIONAGE ACT OF 1917

ALIEN REGISTRATION ACT 1940
IMMIGRATION AND
NATURALIZATION ACT OF

1924 AND 1952

SEDITION ACT OF 1918

MCCARREN-WALTERS
ACT OF 1952

TRADING WITH THE ENEMY
ACT OF 1917, 1939

BANK SECRECY ACT OF 1970
RACKETEER INFLUENCED AND
CORRUPT ORGANIZATIONS
ACT OF 1970

INTERNATIONAL IN TRAFFIC
IN ARMS REGULATION OF 1976

SOCIAL SECURITY ACT OF
1935 AND 1965
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JAMAICA, COUNTRY OF
1924 TO PRESENT

REPUBLIC OF TRINIDAD AND
TOBAGO, COUNTRY OF

ANTIGUA AND BARBUDA
COUNTRY OF 1924 TO PRESENT

BARBADOS, COUNTRY OF
1924 TO PRESENT

DOMINICA, COUNTRY OF
1924 TO PRESENT

GRENADA, COUNTRY OF
1924 TO PRESENT

SAINT LUCIA, COUNTRY OF
1924 TO PRESENT

CIVIL RIGHTS ACT OF 1964

INVENTIONS SECRECY ACT OF
1951

INTERNAL SECURITY ACT OF
1950

ILLEGAL IMMIGRATION
REFORM AND IMMIGRANT
RESPONSIBILITY ACT OF 1996

EMPLOYMENT RETIREMENT
INCOME SECURITY ACT OF 1974

SAINT VINCENT AND GRENADINES,

COUNTRY OF 1924 TO PRESENT

MIQUEL BEZOS, CUBAN FINANCER
OF START UP OF AMAZON, INC. MINOR

OF OPERATION PETER PAN

CATHOLIC ARCHDIOCESES OF
MAIMI 1960 TO PRESENT

EDUARDO ACQUIRRE, CUBAN FORMER

U.S. AMBASSADOR TO SPAIN,

MINOR OF OPERATION PETER PAN

FRANK ANGONES, CUBAN HEAD OF
FLORIDA BAR ASSOCIATION, MINOR

OF OPERATION PETER PAN
Case 1:19-cv-03312-CKK Document 1-14 Filed 11/04/19 Page 4 of 16

CARLOS MAYANS, CUBAN MAYOR
OF WICHITA, KS, MINOR OF OPERATION
PETER PAN

HUGO LLORENS, FORMER U.S.
AMBASSADOR TO HONDURAS,
MINOR OF OPERATION PETER PAN

RAUL ANDRES MARTINEZ TORRE,
CUBAN U.S. DEPT. OF DEFENSE 1980-2001,
MINOR OF OPERATION PETER PAN

MEL MARTINEZ, FORMER
CUBAN U.S. SENATOR, MINOR
OF OPERATION PETER PAN

GUILLERMO REMBVIDAL, CUBAN MAYOR
OF DENVER, MINOR OF OPERATION
PETER PAN

EDUARDO J. PADRON, CUBAN
PRESIDENT OF MIAMI DADE
COLLEGE, MINOR OF OPERATION
PETER PAN

MARGARITA EXQUIROZ, CUBAN
MIAMI DADE COUTY CIRCUIT
JUDGE, MINOR OPERATION PETER
PAN

REMBERTO PEREZ, CUBAN DIRECTOR
OF CUAN AMERICAN NATIONAL
FOUNDTION, MINOR OF OPERATION
PETER PAN

CUBAN AMERICAN NATIONAL
FOUNDATION

NYDIA VELAZQUEZ
PUERTO RICAN U.S. CONGRESSWOMAN
Case 1:19-cv-03312-CKK Document 1-14 Filed 11/04/19 Page 5 of 16

BOB MENENDEZ
CUBAN U.S. SENATOR

MARCO RUBIO
CUBAN U.S. SENATOR

KAMALA HARRIS
JAMAICAN U.S. SENATOR

JENNIFER GONZALEZ-COLON
PUERTO RICO U.S. CONGRESSWOMAN

MIA LOVE FORMER HAITI
U.S. CONGRESSWOMAN

YVETTE CLARKE JAMIAICAN
U.S. CONGRESSWOMAN

CARLOS CURBELO CUBAN
U.S. CONGRESSMAN

MARIO DIAZ-BALART CUBAN
U.S. REPRESENTATIVE

LLEANA ROS-LEHTINEN CUBAN
U.S. CONGRESSMAN

ANTHONY BROWN CUBAN AND
JAMAICAN U.S. CONGRSSMAN

ALEXANDRIA OCASIO-CORTEZ
PUERTO RICAN U.S. CONGRESS WOMAN

ALBIO SIRES CUBAN
U.S. CONGRESSMAN

LUIS GUTIERREZ FORMER PUERTO
RICAN U.S. CONGRESSMAN
Case 1:19-cv-03312-CKK Document 1-14 Filed 11/04/19 Page 6 of 16

ALEXANDER ACOSTA CUBAN
U.S. SECRETARY OF LABOR

SONIA SOTOMAYOR PUERTO
RICAN U.S. SUPREME COURT JUSTICE

MARI CARMEN APONTE, PUERTO RICAN
U.S. ASSISTANT SEC. OF STATE FOR
WESTERN HEMISPERE AFFAIRS

AMERICAN LEAGUE OF

PROFESSIONAL BASEBALL CLUBS

NATIONAL BASKETBALL ASSOCIATION
NATIONAL FOOTBALL LEAGUE

UNITED STATES SOCCER FEDERATION
UNITED STATES TENNIS ASSOCIATION
UNITED STATES OLYMPIC COMMITTEE
UNITED STATES FIGURE SKATING

UNITED STATES RUBBY FOOTBALL UNION
COLLEEE ATHLETES PLAYERS ASSOCIATION
NATIONAL COLLEGE PLAYERS ASSOCIATION
ACADEMY OF MOTION PICTURE ARTS AND SCIENCES
ADULT FILM ASSOCIATION OF AMERICA

THE RECORDING ACADEMY

BILLBOARD MUSIC AWARDS

AMERICAN MUSIC AWARDS

NATIONAL SCHOLASTIC PRESS ASSOCIATION
SOCIETY OF PROFESSIONAL JOURNALISTS
AMERIOCAN METEOROLOGICIAL SOCIETY
Case 1:19-cv-03312-CKK Document 1-14 Filed 11/04/19 Page 7 of 16

AMERICAN BROADCASTING COMPANY
NATIONAL BROADCASTING COMPANY
COLUMBIA BROADCASTING COMPANY
FOX BROADCASTING COMPANY

ALFRED JOEL HORFORD
DOMINICAN REPUBLIC NBA PLAYER

ROY DENZIL HIBBET TRINADAD
AND JAMIACAN NBA PLAYER

JOSE JUAN BOREA MORE
PUERTO RICAN NBA U.S. PLAYER

KERRON STEPHEN CLEMENT
TRINIDA AND TOBAGO
U.S. OLYMPIAN TRACK

SANYA RICHARDS ROSS
JAMAICAN U.S. OLYMPIAN TRACK

TIM DUNCAN VIRGIN ISLAND
NBA U.S. PLAYER

PATRICK CHUNG JAMAICAN
NFL U.S. PLAYER

DAVID ORTIZ DOMICAN REPUBLIC
U.S. BASEBALL PLAYER

ALEXANDER RODRIGUEZ DOMICAN
REPUBLIC U.S. BASEBALL PLAYER

CARLOS CORREA PUERTO
RICAN U.S. BASEBALL PLAYER
YORDAN RUBEN ALVAREZ
CUBAN U.S. BASEBALL PLAYER
Case 1:19-cv-03312-CKK Document 1-14 Filed 11/04/19 Page 8 of 16

ANTOAN RICHARDSON,
BAHAMIAN U.S. BASEBALL PLAYER

KRISTIAN ROBINSON,
BAHAMINA U.S. BASEBALL PLAYER

PATRICK EWING,
JAMAICAN NBA U.S. PLAYER

ALBERT LINCOLN ROKER, JR.
BAHAMIAN AND JAMAICAN
NBC WEATHER FORECASTER

JOSE DIAZ-BALART, CUBAN
NBC ANCHOR

JENNIFER LOPEZ PUERTO RICAN
KNOWN AS JLO CELEBRITY

BELCALIS MARLENIS ALMANZAR
KNOWN AS CARDIB
DOMINICAN/TRINIDADA CELEBRITY

ARMANDO CHRISTIAN PEREZ
KNOWN AS PIT BULL
CUBAN CELEBRITY .-

ROBYN RIHANNA FENTY
BARBADIAN CELEBRITY

NICKI MINAJ
TRINADAD CELEBRITY

PETER GENE HERNANDEZ
KNOWN AS BRUNO MARS
PUERTO RICAN CELEBRITY

GINA ALEXIS RODRIGUEZ
PUERTO RICAN ACTRESS
Case 1:19-cv-03312-CKK Document 1-14 Filed 11/04/19 Page 9 of 16

ANDREA NAVEDO
PUERTO RICAN ACTRESS

YVONNE COLL
PUERTO RICAN ACTRESS

CAMILA CABELLO
CUBAN CELEBRITY

WILLY CHIRINO, CUBAN
SONGWRITER-SINGER,

MINOR OF OPERATION

PETER PAN

THE BEZOS FAMILY FOUNDATION
LATINOS IN COLLEGE

THE SOCIETY FOR HISPANIC ENGINEERS
HISPANIC NATIONAL BAR ASSOCIATION
HISPANIC NATIONAL BAR FOUNDATION

DEFENDANTS

AFFIDAVIT OF SERVICE FOR
CASES A19-CV-0647-RP AND A19-CV-0648-RP

Motion to record the certified return receipt of the delivery of Vicki McLean, ET AL
EX REL USA VS PUERTO RICO, TERRITORY OF UNITED STATS, ET AL to
the U.S. Attorney General William Barr under USPS tracking number 7018 0680
0001 0268 4953 mailed on June 25, 2019 and indicating received on June 28, 2019.
Case 1:19-cv-03312-CKK Document 1-14 Filed 11/04/19 Page 10 of 16

Due to being absolutely certain that all previous USPS mailings of federal cases filed
by Vicki McLean, ET AL EX REL USA were never really delivered to the U.S.
Attorney Generals of the United States and the U.S. Attorney except for the ones
hand delivered personally to the New Orleans U.S. Attorney office in 2015 — April
of 2018 there is great certainty that U.S. Attorney General William Barr never
actually was allowed to receive U.S. District Court of Western District of Texas Case
A19-CV-0647-RP AND A19-CV0648-RP similar to U.S. District Court of Western
District of Texas Case A18-CV-1021 RP denying the Vicki McLean, ET AL EX
REL USA and the U.S. Citizens their rights to counsel and due process having
altered the original filing indicated in the forged order of J udge Robert Pitman dated
on June 18, 2019 for case A18-1021-RP that required Judge Pitman to address the
case having been filed also for the U.S. Citizens requiring the U.S. Attorney General
to file in a motion to address the non-acceptance of the case for the U.S. Citizens
with reasoning. Due to Acting U.S. Attorney General Matthew Whitaker and U.S.
Attorney General William Barr obviously having no knowledge of the case A18-
1021-RP that includes all previous federal cases filed by Vicki McLean for the U.S.
Citizens beginning on Dec. 21, 2007 in U.S. District Court of Eastern District of
Louisiana in New Orleans 07-9717 with Judge Thomas Porteous and Magistrate
Daniel Knowles no motion was filed by the U.S. Attorney General Office to accept,

to reject, or dismiss the case denying the U.S. Citizens and Vicki McLean ET AL
rights to counsel and rights to due process. It was proven in Magistrate Judge Daniel
Knowles, III courtroom on 12/29/2015 in New Orleans when Vicki McLean gave
testimony that Magistrate Judge Daniel Knowles and Judge Thomas Porteous never
received case 07-9717 assigned to their court filed EX REL United States of
America. The Medicare and Medicaid fraud exposed in case 07-9717 has been so
massive by the Federal Reserve Shareholders since 1998 that no federal judge would
ever be allowed to grant the U.S. Citizens their rights to due process or rights to

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Case 1:19-cv-03312-CKK Document 1-14 Filed 11/04/19 Page 11 of 16

counsel. For these reasons all of Vicki McLean’s EX REL USA cases have been
altered and forged the judges’ orders and the assistant U.S. Attorneys motions
dismissing the cases never allowing Vicki McLean in front of the real Federal Judges
assigned the case. After meeting in court with Magistrate Judge Daniel Knowles, Ill
and Assistant U.S. Attorney James Beahr from the New Orleans U.S. Attorney on
Dec. 29, 2015 giving testimony and handing the previously filed federal cases filed
EX REL USA by Vicki McLean Judge Daniel Knowles, II and U.S. Attorney Office
in New Orleans had all the proof they needed that all Vicki McLean’s EX REL Cases
were never received by federal judges and the U.S. Attorney General Office and U.S.
Attorney in Charge also never received the cases denying the U.S. Citizens their
rights to due process and their rights to counsel. All testimony of Vicki McLean,
Federal Judge Daniel Knowles, Assistant U.S. Attorney James Baehr, and all
witnesses testimonies given on Dec. 29, 2015 were altered drastically in the file
records of the citation case hearing 15-CR-0205 including the Notice of Appeal filed
within a week. A motion to leave was filed in the case addressing alteration and
deletion of records and exhibits filed with the Notice of Appeal for 15-CR-0205. The
Appeal was denied being a forgery by 3 judges from the Fifth Circuit Court of
Appeals. The U.S. District Clerk Office in New Orleans and Federal Judge Daniel
Knowles refusing to notify the Foreign Intelligence Surveillance Court of the
forgeries and forgeries of Intelligence Judge Martin Feldman resulted in the murder
of plaintiff Alexander Fanning in Dallas in May 2018 one month after filing federal
case 18-3462 in the Eastern District of Louisiana, New Orleans District assigned
originally with Judge Martin Feldman on April 2, 2018. Alexander Fanning murder
was falsely classified as a suicide and was done to intimidate Vicki McLean family
members living in Louisiana which is 7 out of 9 siblings to be used again like in
2005 and 2011 to do a illegal arrest and illegally psychiatric commitment based on
fraudulent Order for Protective Custody that would be forged like in 2005 and 2011

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to aid in justification of dismissal of all cases placed under Judge Martin Feldman
without his knowledge since Sept. 28, 2016 so no assistant U.S. Attorney would be
needed to file a motion to dismiss if placed with the Judge Martin Feldman on
Sept.28, 2016 being at the time a member of the Foreign Intelligence Surveillance
Court. Clearly the U.S. Federal Court System and U.S. Attorney Office in New
Orleans is liable for the murder of Alexander Fanning due to not fulfilling their oath
of office to uphold the U.S. Constitution and their moral obligation to put others

lives first before their lives just by revealing the truth and recording the truth.

This is why the physical and financial attacks on the McLean family and the Fanning
Clan continues in order to stop the Foreign Intelligence Surveillance Court actually
in charge of all Vicki McLean’s federal cases surely including A18-1021-RP and
A19-CV-5091-RP, A19-CV-0647-RP, A19-CV-0648-RP to stop Vicki McLean
from continuing to file cases against different defendants under the Patriot Act, etc.
to better enable the FISC to address all individuals, governments, and entities

involved in the massive theft of U.S. funds, etc.

It is certain that all past orders and future orders dismissing cases filed by Vicki
McLean, ET AL EX REL USA have been and will be forged denying Vicki McLean,
ET AL and the U.S. Citizens their rights to counsel and rights to due process. In the
Western District of Texas, Austin Division the likely universities involved in the
forgery of judges’ order and attorney’s motions would be the University of Texas,
Texas A&M and Harvard University. The University of Texas and Texas A&M
‘nvolvement in altering and forging the judge’s orders and attorney motions of Vicki
McLean federal and state cases were addressed in a federal case filing in the U.S.
District Court of Eastern Louisiana 17-5578. Vicki McLean intends to file a separate
case against Harvard University in Boston in the future to address all Harvard

University involvement in the forging of the judges’ orders of Vicki McLean’s

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federal cases and Supreme court justices orders. There is a very high probability due
to case 17-5578 that Harvard University was involved in the forgery of U.S. District
Court of Eastern District of Louisiana cases 16-15001, 18-911, and of U.S. District
Court of Western District of Texas Case A18-1021-RP. The forgery of Judge Robert
Pitman’s order on 6/18/2019 becomes obvious when the order does not acknowledge
the case filed for the U.S. Citizens and no mention of no motion being filed by the
U.S. Attorney General Office to either accept, reject, or motion to dismiss the case.
Consistent with all previously filed EX REL Cases by Vicki McLean the original
filing filed by Vicki McLean Pro Se was altered to remove all information to protect
the Federal Reserve Shareholders and all universities involved in the forgery of all
previously filed Vicki McLean, ET AL EX REL USA, Pro Se.

Respectfully submitted Pro Se
for the U.S. Citizens and Plaintiffs

Pro Se, Ws 8, 2019 i Ae

Vicki LZ Ax 7 Pro SE

7203 Oakwood Glen Blvd Apt. 80412
Spring, Texas 77379

832-610-1059
Vickimclean54@yahoo.com

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AFFIDAVIT OF SERVICE FOR
CASES A19-CV-0647-RP AND A19-CV-0648-RP
USPS TRACKING PACKAGE 7018-0680-0001-0268-4954
USPS TRACKING RETURN RECEIPT 9590 9402 5076 9092 3001 24
ORIGINAL PROVIDED TO U.S. DISTRICT CLERK OFFICE ON JULY 8TH
WITH THIS AFFIDAVIT OF SERVICE MOTION GIVING
REASONS WHY THERE IS GREAT CERTAINTY THAT
THE U. S. ATTORNEY GENERAL WILLIAM BARR NEVER
RECEIVED CASES A19-CV-0647-RP OR A19-CV-0648-RP BUT WAS
REALLY STOLEN AND TAKEN TO THE UNDERGROUND
DENYING THE U.S. CITIZENS THEIR RIGHTS TO COUNSEL LIKE
ALL VICKI MCLEAN PREVIOUS FEDERAL CASES FILED EX REL USA

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AFFIDAVIT OF SERVICE FOR
CASES A19-CV-0647-RP AND A19-CV-0648-RP
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AFFIDAVIT OF SERVICE FOR
CASES A19-CV-0647-RP AND A19-CV-0648-RP
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_ THE U. S. ATTORNEY GENERAL WILLIAM BARR NEVER
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REALLY STOLEN AND TAKEN TO THE UNDERGROUND
DENYING THE U.S. CITIZENS THEIR RIGHTS TO COUNSEL LIKE
ALL VICKI MCLEAN PREVIOUS FEDERAL CASES FILED EX REL USA

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